     Case 4:92-cr-04013-WS-CAS       Document 2069     Filed 06/27/13    Page 1 of 2




                                                                               Page 1 of 2

                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                  4:92cr4013-WS

MICHAEL MORGAN,

       Defendant.



                     ORDER ADOPTING THE MAGISTRATE JUDGE’S
                         REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc.

2065) docketed May 24, 2013. The magistrate judge recommends that the defendant's

motion to vacate, set aside, or correct sentence (docs. 1991 & 2064) be summarily

dismissed. The defendant has filed no objections to the report and recommendation.

       Upon review of the record, this court has determined that the magistrate judge’s

report and recommendation should be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc. 2065) is hereby

ADOPTED and incorporated by reference into this order.

       2. The government's motion to dismiss (doc. 1997) is GRANTED.
    Case 4:92-cr-04013-WS-CAS        Document 2069         Filed 06/27/13   Page 2 of 2




                                                                                  Page 2 of 2

       3. The defendant's motion to vacate, set aside, or correct sentence (docs. 1991

& 2064) is hereby DISMISSED for lack of jurisdiction.

       4. The clerk shall enter judgment stating: "All claims are DISMISSED."

       5. A certificate of appealability is DENIED.

       DONE AND ORDERED this            27th      day of      June      , 2013.




                                         s/ William Stafford
                                         WILLIAM STAFFORD
                                         SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:92cr4013-WS
